         Case 1:21-cr-00536-CKK Document 79-2 Filed 04/12/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
v.                                            :
                                              :         Case No: 21-CR-536 (CKK)
[1] KAROL J. CHWIESIUK,                       :
[2] AGNIESZKA CHWIESIUK,                      :
                                              :
               Defendants.                    :


                                              ORDER

        Upon consideration of the United States’ Unopposed Motion for Early Return of Trial

Subpoenas Pursuant to Federal Rule of Criminal Procedure 17(c), it is hereby ORDERED:

        1.     That the Chicago Police Department (“CPD”) be required to comply with the

proposed trial subpoenas by producing records as described in Attachment A to the subpoena, a

copy of which was appended to the government’s motion;

        2.     That CPD, in lieu of appearing in court with the requested records, may provide

them directly to the filter team established by U.S. Attorney’s Office for the District of Columbia

before April 28, 2023, at 2:30 p.m.;

        3.     That filter team shall review the materials and provide copies of all appropriate

materials to trial counsel for the United States; and

        4.     Trial counsel shall produce any subpoena results received promptly to the

defendants through the discovery process after receiving the materials from the filter team.

        SO ORDERED.



                                                        _________________________
                                                        COLLEEN KOLLAR-KOTELLY
                                                        United States District Judge
Date:
